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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MARCUS QUALLS,                                 §
Individually and On Behalf of All              §
Others Similarly Situated,                     §       CIV. ACTION NO. 4:18-cv-00666
       Plaintiff,                              §
                                               §
vs.                                            §       COLLECTIVE AND CLASS ACTION
                                               §       COMPLAINT
EOG RESOURCES, INC.;                           §
         Defendant.                            §

      PLAINTIFF’S MOTION TO LIFT STAY AND TO DISMISS WITH PREJUDICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Marcus Qualls, individually and on behalf of all others similarly situated, hereby files this

Motion to Lift Stay and to Dismiss with Prejudice, and would respectfully show as follows:

       The parties have resolved all matters in dispute among them in this case. As such,

Plaintiff hereby requests the court to lift the stay and dismiss the case with prejudice.

       WHEREFORE, Marcus Qualls requests that this case be dismissed, with prejudice, and

that each party bear its own court costs and attorney’s fees.


                                               Respectfully submitted,

                                               /s/ Josh Borsellino
                                               Josh Borsellino
                                               State Bar No. 24045532
                                               Southern District of Texas Number 639625
                                               Borsellino, P.C.
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                                             COUNSEL FOR PLAINTIFF




                                CERTIFICATE OF SERVICE

I hereby certify that I served a copy of the foregoing on all counsel of record through the ECF
filing system of the Southern District of Texas on February 11, 2019.

                                             /s/ Josh Borsellino
